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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                            §
                                                      § Case No. 23-34815 (JPN)
    GALLERIA 2425 Owner, LLC                          §
                                                      § Chapter 11
                    Debtor.                           §


                     NATIONAL BANK OF KUWAIT, S.A.K.P, NEW YORK
                  BRANCH’S RESPONSE TO SUPPLEMENTAL CONFIRMATION
                            OBJECTION FILED BY 2425 WL, LLC


TO THE HONORABLE JEFFREY P. NORMAN, U.S. BANKRUPTCY JUDGE:

             For its response to 2425 WL, LLC’s (“2425 WL”) Supplemental Objection to Chapter 11

Plan of Liquidation of the Debtor filed by National Bank of Kuwait, S.A.K.P. New York Branch

(“NBK”) and to Final Approval of Disclosure Statement (the “Supplemental Objection”) [ECF

No. 526], NBK states as follows:

                           THE SUPPLEMENTAL OBJECTIONS ARE NOT TIMELY

             1.    The Supplemental Objection asserts three new objections to confirmation of NBK’s

Plan of Liquidation (the “Plan”). 1 Although 2425 WL acknowledges that these new objections are

untimely as the deadline to object to the Plan passed almost two weeks ago, 2425 WL

disingenuously contends that since the deadline it “has uncovered additional reasons why the plan

is unconfirmable.” Supplement Objection at ¶8. A cursory review of the new objections, however,

makes clear that nothing new has happened since June 3, 2024, and indeed, everything that 2425

WL needed to know to assert any of the ‘new’ objections, it knew or clearly should have known

by the June 3, 2024 objection deadline.


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    Although 2425 WL indicated that only ‘new’ objections were presented in bold, the bold language in ¶ 9(f) of the
    Supplemental Response appears in its original response at ¶ 9(e). [ECF No. 401].
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          2.        First, at ¶ 9(d), 2425 WL contends that NBK has gerrymandered classes to create a

class of accepting impaired creditors. The classification scheme in the Plan has been well-known

since the Plan was filed on April 10, 2024, at least nine weeks before June 3, 2024. It has not

changed. 2425 WL’s explanation for failing to include this first new objection in its original

objection – that it has uncovered additional reasons to object – fails.

          3.        Second at ¶ 10, 2425 WL contends that NBK did not properly serve solicitation

materials for the Plan. Service of solicitation materials for the Plan occurred on May 6, 2024, and

an affidavit of service that attached the actual documents mailed and mailing lists used was filed

on May 7, 2024. 2425 WL thus had this information for nearly a month before it filed its original

objection. Again, its explanation for failing to have done is not credible. In addition, as discussed

below, the Court recently held that service of these solicitation materials was proper when denying

2425 WL’s efforts to derail the June 17, 2024 hearing on confirmation of the Plan making nearly

identical arguments.

          4.        Third, at ¶ 14, 2425 WL contends that no vote to accept the plan has been cast

because 2425 WL objected to NBK’s claims. 2425 WL filed an amended objection to NBK’s

claims on May 6, 2024, many weeks in advance of the June 3, 2024 objection deadline. [ECF No.

284]. It thus knew more than enough to object to any vote by NBK at that time. 2

          5.        There is no reasonable excuse for 2425 WL’s failure to assert these objections with

its original objection, and they should be summarily dismissed.




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    Even if 2425 WL were to argue that it should be able to object on this ground because the Trustee did not file his
    voting summary on the Plan until June 7, 2024, 2425 WL’s objection on this basis asserted 17 hours before the
    start of the confirmation hearing should be deemed untimely.


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                         On The Merits, These Objections Fail As Well

Classes Were Not Gerrymandered to Create an Accepting Impaired Class

       6.      To proceed to confirmation, section 1129(a)(10) only requires that at least one

impaired class of creditors votes in favor of the Plan.

       7.      It is beyond dispute that NBK’s Class 4 claim is impaired and was voted in favor

of the Plan. Separately classifying the unsecured claims in Classes 5(a), 5(b) and 6 was not (and

was never) necessary to obtain the vote of an accepting impaired class.                 2425 WL’s

gerrymandering objection, therefore, fails.

       8.      To the extent that 2425 WL objects to being classified separately from other

unsecured claims, the justification for doing so is obvious. Unsecured creditors are out-of-the

money; NBK has proposed a plan that permits smaller trade creditors who provide services in the

future with respect to the Property a nominal aggregate return and permits other non-insiders who

extended credit to the debtor to potentially receive recoveries from litigation even though NBK

would be entitled to all the value of this estate after senior tax claims are paid in full. Moreover,

the sources of those recoveries are most likely to be from claims against the parties classified in

Class 6, as is readily apparent from the claims objections and affirmative recovery actions

commenced by the Trustee against them.

       9.      Furthermore, to the extent that 2425 WL objects to being classified only as an

unsecured creditor, it has no reason to complain because, among other things:

            a. Its own (now withdrawn) plan of reorganization valued the Property at significantly

               less than NBK’s debt, so it is unquestionably out of the money, that is, only an

               unsecured creditor.




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             b. Its claim against the estate is highly suspect. The Trustee’s objection to 2425 WL’s

                claim cogently describes (a) why there is no claim and (b) why the deed of trust is

                ineffective. Without in any way limiting any objection to the 2425 WL’s claim or

                any other claim, or any lawsuit commenced by the Trustee against 2425 WL or Mr.

                Choudhri and his companies, the deed of trust appears unenforceable on its face,

                because while it is notarized, the notary did not complete when the deed of trust

                was executed. See ECF No. 498-23. This failure to have provided the date of

                signing by Mr. Choudhri raises the question whether the deed of trust, which was

                filed on May 11, 2021, was signed after the notary’s commission expired on

                April 26, 2021. Id.

             c. Finally, the NBK loan agreement prohibited any liens other than permitted liens of

                which the 2425 WL was not one. 2425 WL cannot not legitimately contend that a

                lien that Mr. Choudhri effectively gave to himself by being on both sides of the

                relevant deed of trust, in violation of NBK’s loan agreement, creates an enforceable

                secured claim.

       10.      These are legitimate distinctions between the holders of claims in Classes 5(a) and

5(b) and holders of claims in Class 6.

Service Of The Solicitation Package Was Proper

       11.        Having lost a prior motion that service of the solicitation package by NBK for its

Plan was improper, and notwithstanding this Court’s order finding that service was proper and its

prior order modified to endorse the notice given, 2425 WL now contends that the mailing of the

notice failed because counsel to 2425 WL did not receive the package in the mail and allegedly

parties to executory contracts did not receive the solicitation package.




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        12.      With respect to counsel to 2425 WL, even though it was part of a Non-Voting Class,

2425 WL cast a ballot against the Plan. Whether counsel to 2425 WL received a package in the

mail is irrelevant. Second, and more importantly, counsel for 2425 WL was served electronically

with the solicitation package when the affidavit of service was filed on that docket on May 7, 2024

[ECF No. 290], counsel to 2425 WL was automatically served.

        13.      With respect to counterparties to executory contracts, these contracts have not been

assumed or rejected and they are not able to vote as a result. Furthermore, to the extent that 2425

WL relies on the Court’s prior order, it has been amended by its most recent. [ECF No. 507].

NBK’s Vote Of Its Loan Claim Is Properly Counted

        14.       2425 WL’s contention that its objection to NBK’s claims makes its vote in favor

of the Plan a nullity fails for at least the following reasons:

              a. In the pre-petition Confidential Settlement Agreement among NBK, on the one

                 hand, and the Debtor, Mr. Choudhri and at least one other entity (the “Choudhri

                 Entities”), the Choudhri Entities agreed and acknowledged the amount, validity and

                 security for NBK’s loan claim and waived and released all claims against NBK.

                 Mr. Choudhri efforts to avoid this agreement by the Choudhri Entities, through a

                 separate instrumentality under his control, 2425 WL, by objecting to NBK’s claims

                 is improper and should be ignored. It should be taken for what it is – a desperate

                 effort by Mr. Choudhri to obtain delay.

              b. Also, 2425 WL has taken the position that this Confidential Settlement Agreement

                 is enforceable, which necessarily means that it must accept that the amount, validity

                 and security for NBK’s loan is beyond reproach. It cannot take this position and

                 legitimately contend that there are valid objections to that claim. To do so is an




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              impermissible effort to whip-saw both the Court and NBK. No one disputes that

              the loan was made and not repaid.

           c. Finally, objections to the amount, validity, priority and security of NBK’s claim

              based on its loan to the Debtor have been resolved and are now binding on all parties

              in interest, including 2425 WL, pursuant to the Final Cash Collateral Order [ECF

              No. 187]. 2425 WL’s objections, if any, to NBK’s claims such that they cannot be

              voted on the Plan are moot.

                                         CONCLUSION

       For the foregoing reasons, the Court should disregard the additional objections contained

in the Supplemental Objection, overrule them, and confirm the Plan. A proposed Confirmation

Order overruling all objections has been separately filed at ECF No. 528.




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DATED: June 16, 2024                      PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                          *Admitted pro hac vice

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                                          York Branch

                                CERTIFICATE OF SERVICE

        The undersigned certifies that on June 16, 2024, a true and correct copy of this document
was served via the Court’s CM/ECF system on the Chapter 11 Trustee, the Debtor’s proposed
counsel of record and all others who are deemed to have consented to ECF electronic service, and
also by mailing, first class, postage prepaid, to each of the parties on the attached service list.

                                                  /s/ Charles C. Conrad
                                                    Charles C. Conrad




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               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                         SERVICE LIST (a/o June 7, 2024)

Debtor:                                   Twenty Largest Creditors:
Galleria 2425 Owner, LLC                  Caz Creek Lending
1001 West Loop South Ste 700              118 Vintage Park Blvd No. W
Houston, TX 77027                         Houston, TX 77070

Debtor’s Counsel:                         Cirro Electric
Reese W. Baker                            P O Box 60004
Baker & Associates                        Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                         City of Houston
                                          P O Box 1560
James Q. Pope                             Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                  City of Houston Water Department
Houston, TX 77036                         P O Box 1560
                                          Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee           Datawatch Systems
Attn: Jana Smith Whitworth                4520 East West Highway 200
515 Rusk Street Suite 3516                Bethesda, MD 20814
Houston, TX 77002
                                          Firetron
Chapter 11 Trustee:                       10101A Stafford Centre Dr.
Christopher R. Murray                     Stafford, TX 77477
602 Sawyer Street Ste 400
Houston, TX 77007                         First Insurance Funding
                                          450 Skokie Blvd
Chapter 11 Trustee’s Counsel:             Northbrook, IL 60062
R. J. Shannon
Shannon & Lee LLP                         Gulfstream Legal Group
2100 Travis Street Ste 1525               1300 Texas Street
Houston, TX 77002                         Houston, TX 77002
                                          (Returned to Sender / Unable to Forward)
Governmental Entities:
Harris County Tax Assessor                Gulfstream Legal Group
P O Box 4622                              720 N Post Oak Rd Ste 355
Houston, TX 77210                         Houston, TX 77024

Harris County, et al.                     Hayward PLLC
P O Box 2928                              10501 N Central Expy Ste 106
Houston, TX 77252-2928                    Dallas, TX 75231-2203




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HNB Construction, LLC                          ADT
521 Woodhaven                                  P O Box 382109
Ingleside, TX 78362                            Pittsburgh, PA 15251

Houston Community College System               Ali Choudhri
c/o Tara Grundemeier                           1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson           Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                         Ash Automated Control Systems, LLC
                                               P O Box 1113
Houston Independent School District            Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                              CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)       6109 Brittmoore Rd
                                               Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                       CNA Insurance Company
Dallas, TX 75373                               P O Box 74007619
                                               Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                      Comcast
Houston, TX 77027                              P O Box 60533
(Returned to Sender / Unable to Forward)       City of Industry, CA 91716

Nichamoff Law Firm                             Environmental Coalition Inc.
2444 Times Blvd Ste 270                        P O Box 1568
Houston, TX 77005                              Stafford, TX 77497

T&R Mechanical                                 Ferguson Facilities Supplies
21710 White Oak Drive                          P O Box 200184
Conroe, TX 77306-8848                          San Antonio, TX 78220

TKE                                            Jetall Companies Inc.
3100 Interstate North Cir SE 500               2425 West Loop South Ste 1100
Atlanta, GA 30339                              Houston, TX 77027-4210

Zindler Cleaning Service Co.                   Kings 111 Emergency Communications
2450 Fondren Ste 113                           751 Canyon Drive Suite 100
Houston, TX 77063                              Coppell, TX 75019

Other Creditors / Interest Holders:            Logix Fiber Networks
2425 WL, LLC                                   P O Box 734120
60 West 2nd Street                             Dallas, TX 75373
Freeport, NY 11746




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Mueller Water Treatment                        Executory Contract Counterparties:
1500 Sherwood Forest Dr                        2425 West Loop LLC dba Metwall Design
Houston, TX 77043                              Solutions LLC
                                               2425 West Loop South Ste 800
Smart Office Solutions                         Houston, TX 77027-4214
6623 Theall Road                               (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)       2425 WL, LLC
                                               13498 Pond Springs Rd
Waste Management                               Austin, TX 78729-442
P O Box 660345                                 (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                               2425 WL, LLC
Metwall Design Solutions LLC                   700 Lavaca Street Ste 1401
10931 Day Road                                 Austin, TX 78701
Houston, TX 77043-4901                         (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy            Bankable Equities
Attn: Bankruptcy Department                    2425 West Loop South Ste 600
P O Box 3606                                   Houston, TX 77027-4203
Houston, TX 77253-3606
                                               Boho Lounge
Naissance Galleria, LLC                        2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                      (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                               CNA Insurance Company
H.N.B. Construction, LLC                       P O Box 74007619
c/o Malcolm D. Dishongh                        Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                          Eyebrows 4UTX LLC
                                               2425 West Loop South Ste 340b
CC2 TX, LLC                                    Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                               First Insurance Funding
                                               450 Skokie Blvd
MacGeorge Law Firm                             Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                               G3 Global Services LLC
(Returned to Sender / Unable to Forward)       2425 West Loop South Ste 310
                                               Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                      Galloworks
Austin, TX 78702                               2425 West Loop South Ste 400
                                               Houston, TX 77027-4205



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Jetall Companies Inc.                           Parties Requesting Notice:
2425 West Loop South Ste 1100                   Jeannie Lee Andressen
Houston, TX 77027-4210                          Tara Grundemeier
                                                Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                        P O Box 3064
2425 West Loop South Ste 350                    Houston, TX 77253-3064
Houston, TX 77027-4208                          Counsel for City of Houston, Houston
                                                Community College System, and Houston
Nationwide Investigations & Security Inc.       ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                          Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)        McCathern Houston
                                                2000 West Loop South Ste 1850
Shah Sloan LLC                                  Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523       Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)        Susan Fuertes
                                                Harris County Attorney’s Office
SIBS International Inc.                         P O Box 2928
2425 West Loop South Ste 900                    Houston, TX 77252-2928
Houston, TX 77027-4205                          Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)        Tax Division

SIBS International Inc.                         James Robert MacNaughton
2425 West Loop South Ste 350                    Porter & Powers PLLC
Houston, TX 77027                               5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)        Houston, TX 77027
                                                Counsel for 2425 West Loop, LLC
SprintCom Inc.                                  (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                          James Robert MacNaughton
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                                                1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                 Houston, TX 77056
2425 West Loop South Ste 700                    Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                          (Returned to Sender / Unable to Forward)

UL Therapy                                      James Robert MacNaughton
2425 West Loop South Ste 315                    Porter Firm, PLLC
Houston, TX 77027-4211                          2221 S. Voss Road, Suite 200
                                                Houston, TX 77057
Uptown Cosmetic and Implant Dentistry           Counsel for 2425 West Loop, LLC
2425 West Loop South Ste 333
Houston, TX 77027-4211




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